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             N0W petitz-oner, Warren Evans, Jr. to explain to thi
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request to file a belated Notice of Appeal.
     This Motion that petitioner filed was sent to the Appeals Court, and since petitioner

was sentenced in this Hororable Court petitioner sent a copy of hf'
                                                                  s said Motion to this
Ronorable Court to notify tbis Honorable Court of his filing, not for this Honoràble
Court to respond to. Petitioner is sending copies of the Appeals Court's acceptance of

his Motion in which it is under this case number; No. 19-4193.
     0n Harch 21) 201.9, the Appeals Court received my filing, and under Rule 4(d) of the
                            ,



Fqderal Rules of Appellate Procedure, the document was dated stamped and was forwarded

for approprfate disposition see Exhibit (A) of this motion. Ihfs motion was received
                    .                     rt,               .       ,
on karch 22, 2à19.                       yy                         .
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      On March 27, 2019, the United States Court of Appeals For The Fourth Cfrcuit Office

of The Clerk forward petitioner a document (CJA ODUHSEL NCTICE) appointing petitioner a
îttorney,steven Rgy Hinor,ELLIOIT,LARSON & MINOR,PCz 110 PiedmontAvenue, Suite 300,
Bristol, Vl 24201-4159, and witt:this notice petitioner also received documents of SFALED

& CONFIDENTIAL MATERTALS, and other documents explaining what is expected from respondents.
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See Exhibit (B) of this moti
                           kon.
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       Lastly, petitioner received.a Ocder frcm the Knfted States Côurt of Appeals For Ihe
            *     ,


Fourth Circpit explaining the appointment of Steven Minor to represent petitioner Warren

Evans,Jr.on Appeal. See Fhhfbit (C) of this motion. So at this              ttne petitioner is
requesting this Honorable Court tp refer to the Appeals Court concerning his Appealy and
to recall the Order tlv:
                       tt was madè in the Dnited States District Court For Ihe Western

District of Virginia, in which this Honorable Court issued a Order construndn
                                                                            *ng petitu
ioners motion as a 28 D.S.C. s
                             52255.
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                                            O NG JISION
     KHRRFJDRE petitioner Warrer!Evans, .1ray requests this Honorable Court to recally
      i                           '                       ' ''           '
and '
    dksmiss zhe Order tbàt was handed down on April 4, 2019, due to the Appeals Courts
.                     t

Ruling on his Requested filing to ffle a Belated Notice of Appeal motion.

                                                      Respectfully Subnitted,


                                                    '/              x          G         -


                                                 Warren Evans, Jr. Pro Se
                                                  Reg. No. #58902-037
                                                 Federal Correctional Complex-usp 1
                                                 P.O. Box 1033


Date
       #/,/v                                      Coleman,Florida33521
                                        O IRTIFICATE OF SERVICE

    1, Warren Evans Jr., pro se, do hereby         certify under the penalty of perjury (28 USC
j 1746) that'l have served a true and correct copy of the following docùmentls):
PPTPJONER'S RKGM SE K œull ORDER DXTRD APZR t, 2019, IN MllclN S œlllrf kfstlMlER-
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QAS APTOINTFD.                                                                               '
       Rhich, pursuant to Houston v. Iack, 487 P.S. 266, 101 L.Fd.2d 245, 108 S.Ct. 2379

(1988), deemed filed at the tfme it was delivered to prison authoritiqs for forwarding to
the court and service upbn parties to litigation and/or their attorneyts) of record.
       I have placed the material referenced above in a properly sealed envelope with first-

class postage (stamps) affixed and address it to:

1. Clerk, U.S. District Court
   21O Franklin Road, SR, Suite 540
   Roanoke, VA 24011-2208
2..'Uùitëé Stàtés 'Cbttt''
                         ôf Appealà
    For The Fourth Circuit
    Lewis F. Powell, Jr. Dnited States Courthouse Annex
    1100 East Mafn Street, Suite 501
    Ricbmond,Virginia 23219-3517
       Petftioner fs fflfng two (2) coples of said motion witbin the Clerk's Office of the
United States District Court, and one (1) copy withfn the Clerkls Office of The United
States Court of Appeals.

                                                          ByJ
                                                             Warren Evans, Jr. Pro Se


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